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                                                                                        29 January 2016
        UWC Panel Report to Dean Jonathan Holloway
        Complainant: REDACTED
        Respondent: Jack Montague (Trumbull '16)

         Introduction

        On 21 January 2016, the UWC held a hearing to address the complaint brought by Senior
        Deputy Title IX Coordinator Jason Killheffer against Jack Montague on 18 November 2015. The
        complaint alleges that Jack Montague (Trumbull '16) sexually assaulted REDACTED
        REDACTED       on the night of Saturday, 18 October 2014 at his residence located at 43 Howe
        Street.

         REDACTED       participated in the hearing and was accompanied by her adviser REDACTED
        from the SHARE Center. Jack Montague participated in the hearing and was accompanied by
        his adviser Coach James Jones. The panel thanks the parties and their advisers for participating
        in the hearing.

         During the hearing, the panel's questioning of the parties was informed by the detailed report
         prepared by UWC fact-finder Miriam Berkman.

         Findings of Fact'

        The panel accepts the undisputed facts in the fact-finder's report and summarizes here the
        relevant facts. REDACTED      and Mr. Montague were friends and had three previous intimate
        interactions, including sexual intercourse on 24 September 2014. On 18 October 2014, REDACTED
        REDACTED went to a party at Mr. Montague's house. Both parties had been drinking but both
        said they were not incapacitated. They engaged in consensual sexual contact not including
        intercourse outside the house and in Mr. Montague's car. They then went inside to Mr.
        Montague's bedroom, where they continued sexual contact, including intercourse. REDACTED
                                                                                              .
        REDACTED stayed the night with Mr. Montague and went home in the morning. The panel
        accepts all of the above facts as undisputed.

        The panel reviewed the evidence presented by the fact finder and at the hearing to understand
        whether, as alleged in the complaint, Mr. Montague engaged in nonconsensual sexual
        intercourse with REDACTED     on 18 October 2014 in violation of the University's sexual
        misconduct policy.

         Relevant Yale Policy


        1 The panel's findings of fact are underlined.


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        The relevant part of the University's definition of sexual misconduct reads:

               Sexual misconduct incorporates a range of behaviors including...sexual assault...and any
               other conduct of a sexual nature that is nonconsensual, or has the purpose or effect of
               threatening, intimidating or coercing a person.

        The University's definition of sexual assault in relevant part reads:

               Sexual assault is any kind of nonconsensual sexual contact including rape, groping, and
               any other nonconsensual touching.

        The relevant part of the University's definition of sexual consent reads:

               Sexual activity requires consent, which is defined as positive, unambiguous, and
               voluntary agreement to engage in specific sexual activity throughout a sexual encounter.
               Consent cannot be inferred from the absence of a "no"; a clear "yes," verbal or
               otherwise, is necessary. Consent to some sexual acts does not constitute consent to
               others, nor does past consent to a given act constitute present or future consent.
               Consent must be ongoing throughout a sexual encounter and can be revoked at any
               time.

        The University's guidance regarding sexual consent reads:

               Consent can only be accurately gauged through direct communication about the
               decision to engage in sexual activity. Presumptions based upon contextual factors (such
               as clothing, alcohol consumption, or dancing) are unwarranted, and should not be
               considered as evidence for consent.

               Although consent does not need to be verbal, verbal communication is the most reliable
               form of asking for and gauging consent. Talking with sexual partners about desires and
               limits may seem awkward, but serves as the basis for positive sexual experiences shaped
                by mutual willingness and respect.

        Finding and Explanation of the Panel:

        REDACTED      and Mr. Montague provided substantially different accounts of the sexual
        encounter in Mr. Montague's room on the night of 18 October 2014 and of subsequent events
        and interactions.

        REDACTED       account- REDACTED       alleges that Mr. Montague engaged in sexual
        intercourse over her express verbal objection and physical resistance. Before going inside to
        Mr. Montague's bedroom, REDACTED         asked Mr. Montague twice if it was OK to "hook up"
        and not "have sex." Mr. Montague responded that it was OK with him. REDACTED          said she



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        felt comfortable with Mr. Montague and in control of the situation because she had been
        careful to not drink too much and because she had been so verbally clear and direct with Mr.
        Montague about not wanting to have intercourse. [Did she also say she felt comfortable with
        him because he had respected her boundaries iareviously?]Once in Mr. Montague's room, they              Comment [AM1]: According to my notes,
                                                                                                                at the hearing she said, "1 really trusted him.
        took off their clothing and kissed and touched. There was no further verbal discussion of the
                                                                                                                Ihad no reason not to." She also said she
        boundaries of their sexual interaction in the bedroom. REDACTED       indicated her consent to          intentionally brought up the topic of not
        kissing and touching by kissing Mr. Montague, touching his body (but not his genitals) and by           having sexual intercourse in the form ofa
                                                                                                                question and that ifhe had said no, she
        not tensing up. Mr. Montague got on top of REDACTED         and leaned his pelvis into her as if he     would have considered things differently.
        was preparing to penetrate her. REDACTED        put her hands up and pressed them against his           Inher opening statement, she said she had
        shoulder and pushed him away. Then she said "Jack, no, I said I wanted to hook up but not have          never before felt unsafe withlack

        sex," but he then penetrated her over her objection. REDACTED       said Mr. Montague looked
        very drunk. REDACTED       was surprised and frozen during intercourse. She did not attempt to
        push him but rather just waited for him to stop. After intercourse, Mr. Montague said "I'm
        really sorry. I know you didn't want that." After Mr. Montague stopped, REDACTED         lay still in
        bed feeling defeated and confused.

        After intercourse, Mr. Montague got dressed and went downstairs, where some of his friends
        and housemates were gathered. He came back upstairs and told REDACTED             that he was
        going to Zeta Psi and she should stay in his bedroom and wait for him to come back. REDACTED
        REDACTEDreported thinking she might leave and go home but then heard people downstairs
        calling her name and telling her to come down. REDACTED         reported feeling confused but she
        went down stairs. Mr. Montague did not want her to go with him to Zeta Psi, so he asked a
        male friend of his, whom REDACTED        did not know, to take her with him to Toad's Place. Mr.
        Montague said he would meet up with REDACTED           later back at his house. REDACTED      did
        not say anything and went along to Toad's passively with Mr. Montague's friend, whom she
        didn't know, because she couldn't think clearly. She told the panel that she felt like she was
        being passed along. She entered Toad's for a brief time and then left to go to her suite in
        REDACTED          . She walked to REDACTED          alone after 1:00 (swipe card data recorded
        her entering REDACTED 1:34 am) but once there, she became confused and overwhelmed. REDACTED    .
        REDACTED said she just wanted to go to bed and not have to talk with anyone, but she realized
        that there would be lots of people in her suite (several suite mates and friends visiting) and it
        would be impossible to go to bed without seeing anyone or being asked a lot of questions.
        Because she was overwhelmed by the prospect of having to answer questions or talk if she
        returned to her suite, REDACTED      decided to return to Mr. Montague's house, she said "the
        only place where I wouldn't have to explain myself." Since he was planning on having her
        return, he would not question her about the night, and she thought he would let her go to
        sleep quietly. REDACTED      met Mr. Montague near Davenport College and returned to Mr.
        Montague's house. On the way, Mr. Montague was flirty and REDACTED            told him she just
        wanted to go to sleep. Mr. Montague joked about being too drunk to have sex. REDACTED
        stayed the night at Mr. Montague's house, sleeping in Mr. Montague's bed, but remaining fully
        clothed. The next morning, REDACTED        left Mr. Montague's house with no discussion of what
        happened the previous night.




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         REDACTED        returned to her suite around 10 am (swipe card data indicates she entered
         REDACTED  at 9:57am, and REDACTED — which connects through the basement to her suite in
        REDACTED      — at 9:58am). In the common room of the suite, one of her suitemates, REDACTED
        REDACTED asked her how her night was. REDACTED        replied "terrible," described what had
        happened, and started to cry. She then spoke with other suite mates about her experience, and
        her friends encouraged her to talk with someone about what Mr. Montague had done. She met
        with REDACTED          from the SHARE center to learn her options, but decided she did not want
        to file a complaint. She also spoke with REDACTED       a Divinity School student and friend, who
        encouraged her to write down what happened in case she wanted to file a complaint in the
        future. REDACTED         wrote up her account by hand on 22 October (Exhibit D).

        REDACTED       decided to speak with Mr. Montague so he would understand that what he did
        was wrong and so that he would not do it again to anyone else. The parties met on 28 October.
        REDACTED       told Mr. Montague that she had made it clear to him that she didn't want to have
        sex with him and that he proceeded anyway. She told Mr. Montague she did not want to see
        him again. Mr. Montague said that he was sorry that she felt that way and that he had been
        very drunk that night. He was very careful with his words, trying to be nice but not taking
        responsibility for any misconduct.

        REDACTED      reported a number of impacts on her educational and living experience at Yale.
        She had intrusive thoughts and nightmares about Mr. Montague in the fall of 2014 and on and
        off through the spring and early fall of 2015. REDACTED      told the panel she abruptly ended
        relationships with high school friends because she did not think she could keep what happened
        from them and felt it even more difficult to tell them. She said would be overcome by emotion
        when she saw an article about Yale basketball, when the Yale Police sent an email about sexual
        assault, or when she saw Mr. Montague's name on the guest list REDACTED
        REDACTED made the difficult decision to resign from REDACTED                  because she could
        not imagine having to see and REDACTED Mr. Montague at basketball games (Exhibits F and G).

        Mr. Montague's account— Mr. Montague asserts that REDACTED                consented to all of the
        sexual activity that took place on the night of 18 October 2014. Mr. Montague told the fact
        finder that he had 4-7 drinks that night and that he had been careful to not drink too much
        because he was excited to see REDACTED            Mr. Montague told the fact finder that REDACTED
        REDACTED agreed to go up to his room; that they each removed their clothing, although he may
        have unhooked her bra; they were kissing and touching; and he asked if she wanted to have sex           Comment [SS2]: I)i(1 hu say he           tl''he
                                                                                                                and ,:hu consented verbally nr that she
        and REDACTED        said "OK." When the panel asked Mr. Montague how he understood that he
                                                                                                                mehcated conscnt thrutigh 1),!-:,..vior? Or
        had consent for sex, Mr. Montague said REDACTED             agreed to come up stairs to his room, he    through !loth. If he sa:t1 ht: asked hcr it
        did not use force, REDACTED        took off all of her clothing, she did not say no, and that she was   seems odd that the panel asked him huw ht
                                                                                                                aid    la i ncti affirmative ctmsent.
        an active participant in sex, including verbalizing her pleasure, touching him, and switching
        positions during sex.

        Mr. Montague said REDACTED       never asked him if it was OK to "hook up but not have sex."
        He also denied that REDACTED     told him she did not want to have sex or that she pushed him
        away while they were in his room. He further denied that he said after intercourse "that he



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        was sorry because he knew she didn't want that." Mr. Montague expressed confusion about
        the complaint and told the panel he was under the impression that all of their interactions had
        been consensual.

        The accounts of REDACTED         and Mr. Montague differ in several key respects, which are
        summarized here:

               a) REDACTED       said she asked Mr. Montague twice if it was OK that they "hook up" but
                  not "have sex." REDACTED        told the panel she asked him twice — that it was not a
                  statement — and that Mr. Montague responded in the affirmative both times. REDACTED
                  REDACTEDtold the panel that she was proud she had been crystal clear about what she
                  wanted that night. She said "I very clearly expressed myself." Mr. Montague denied that
                  REDACTED       ever said that she wanted to "hook up but not have sex." When pressed
                  on this issue, Mr. Montague told the panel it was possible that REDACTED          said this,
                  but the party was loud and maybe he did not hear her or he may have heard something
                  different.
               b) REDACTED       said she Itold Mr. Montague that she did not want to have sex when the          Comment [SS3j: Or was this one of the
                                                                                                                 times she asked?
                  two were in Mr. Montague's room. Mr. Montague denied this occurred.
               c) REDACTED       said Mr. Montague penetrated her against her express verbal objection           DMP - she asked him twice before, and then
                  and physical resistance. In stark contrast, Mr. Montague told the fact finder that REDACTED    said this in his room
                  REDACTED verbally agreed to have sex when they were in his room. When questioned               Comment [SS4]: This needs some
                                                                                                                 clarifying inlight of the way you report his
                  about consent by the panel, Mr. Montague said REDACTED            provided consent lby
                                                                                                                 testimony on consent.
                  taking her clothing off, by being a full participant in intercourse — including changing
                  positions during sex — and by vocalizing her pleasure. Mr. Montague further said REDACTED      DMP - yes, that was a bit of a mess. Imoved
                                                                                                                 most of it down to C where it fits better.
                  REDACTED did not push him away.
                                                                                                                 Comment [SU]: Did he also say that he
               d) Mr. Montague said they switched positions while having intercourse. REDACTED             did
                                                                                                                 had asked and that she had verbally
                  not remember switching positions and recalls being frozen.                                     consented?
               e) REDACTED       said Mr. Montague looked very drunk, and that he joked about being too
                                                                                                                 DMP -Ithink this is clear now.
                  drunk for sex later in the evening, after she met him near Davenport College to return to
                  his house. She told the panel that Mr. Montague seemed more intoxicated on 18
                  October 2014 than on the previous three nights when they had intimate interactions.
                  Mr. Montague told the fact finder that he had four to seven drinks that night and that
                  he had been careful to not drink too much because he was excited to see REDACTED
                  He told the panel it was a typical party night for him and that he was not as intoxicated
                  as he had been during previous encounters.                                                     Comment [AM]: With whom?


        The panel deliberated at length about issues of credibility in evaluating the conflicting
        statements made by Mr. Montague and REDACTED            The panel finds REDACTED          account
        more credible for the following reasons:

               1. Full, detailed and consistent account. REDACTED     provided a full and detailed
                  account of her relationship with Mr. Montague. REDACTED      told the panel she
                  remembered the incident and what happened very clearly. The panel finds there is no
                  evidence that REDACTED      was intoxicated or otherwise impaired in any way that



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                  would have affected her recollection of the night. REDACTED           testimony on the
                  material facts at the hearing, in interviews with the fact-finder, in her contemporaneous
                  text to her friend REDACTED (Exhibit F), and in her undated written account (Exhibit D)
                  were all detailed and consistent. REDACTED       also provided information that may have
                  been viewed as damaging to her allegations, such as the fact that she returned to Mr.
                  Montague's house. Her descriptions were detailed, clear and specific and where time
                  frames and movements were concerned, her account was fully consistent with the time
                  frames noted in the electronic gate readings. The panel finds credible the account
                  provided by REDACTED

               2. Corroborative third-party witness accounts. The fact finder interviewed REDACTED
                  suitemates, REDACTED                                                         and friend
                  REDACTED . In separate interviews with the fact finder, REDACTED
                  REDACTED all recalled REDACTED       taking with them about her sexual encounter with
                  Mr. Montague the day after it occurred. REDACTED recalled speaking with REDACTED
                  about her encounter with Mr. Montague a day later. All REDACTEDsuitemates said that REDACTED
                  REDACTED told Mr. Montague that she did not want to have sex and she resisted, but
                  that he had ignored her and continued over her objections. REDACTED
                  also recalled REDACTED     said that after intercourse Mr. Montague apologized because
                  he knew she had not wanted that. The nearly contemporaneous text message exchange
                  between REDACTED                      on the morning of 19 October 2014 is also
                  consistent with REDACTED        testimony that she said no a number of times, she tried
                  to push Mr. Montague away, and he apologized after intercourse (Exhibit F).

                  REDACTED                            also spoke about the impacts of the sexual encounter
                  on REDACTED                   said there was a striking difference between REDACTED
                  REDACTED reaction to her first sexual intercourse with Mr. Montague in September and
                  her reaction on the morning of 19 October. On the earlier occasion, REDACTED        felt
                  unhappy and angry with herself, and she was upset but was not crying or falling apart In       Comment [S S7]: This is the first time you
                                                                                                                 introduce the previous instance of sexual
                  contrast, on the morning of 19 October, REDACTED        was sobbing uncontrollably as
                                                                                                                 intercourse. Perhaps this should be
                  she told the story of what happened and REDACTED         was upset and cried on and off        mentioned sooner?
                  the whole day. REDACTEDsaid that REDACTED        gave up REDACTED      in order to stay
                                                                                                                 DMP - Ithought about that but the
                  away from Mr. Montague, which was a big disruption in her life, and REDACTED                   description of her version of events was
                  seemed more stressed and unhappy during the fall of 2015. REDACTED also discussed REDACTED     getting very long. Aley?
                  REDACTED leaving REDACTED


                  The panel finds persuasive the corroborative evidence provided by these third-party
                  witnesses that REDACTED      told Mr. Montague she did not want to have sex, that she
                  tried to push him away, and that he apologized after intercourse. The panel also finds
                  persuasive the evidence provided by REDACTEDof the third-party witnesses that the sexual
                  encounter had a strong negative impact on REDACTED

               3. Independent evidence of that further supports REDACTED       credibility. The swipe
                  card records (Exhibit H) support REDACTED     description of her actions after leaving



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                    Mr. Montague's house— swipe card data shows she entered REDACTED               at 1:34am
                    and then swiped into Davenport College, where she met Mr. Montague, just a few
                    minutes later at 1:40am. This is consistent with REDACTED        explanation that she
                    returned to the REDACTED            after around lam but decided to return to Mr.
                    Montague's house because she just wanted to go to sleep and she did not want to have
                    to speak with her housemates about her experience at that time. Furthermore, REDACTED.
                    REDACTED said she returned to REDACTED and her suite around 10am the next morning—
                    swipe card data indicates she entered REDACTED at 9:57am and REDACTED , which
                    connects to her suite in REDACTED at 9:58am. The panel finds REDACTED
                    explanation for why she did not return to her suite but rather returned to Mr.
                    Montague's room and stayed the night reasonable, and her testimony consistent with
                    the swipe card data and the testimony of her suite mates. The swipe card data further
                    supports the clarity and accuracy of REDACTED        recollections of the evening.

               4.   Narrowness of the claim. REDACTED       raised concerns about a single sexual act during
                    an otherwise consensual encounter. REDACTED       further contrasted her experience on
                    18 October 2014, when she alleges sexual intercourse was not consensual, with her
                    experience on 24 September 2014 when she consented to sexual intercourse but felt
                    unhappy in retrospect because she was intoxicated and had not exercised her normal
                    good judgement. The panel finds the narrow claim and contrasting response to the two
                    experiences of sexual intercourse with Mr. Montague make REDACTED          allegations
                    more credible.

               5.   REDACTED          motivation for the complaint. REDACTED        told the fact finder and the
                    hearing panel that she had not initially intended to bring a complaint against Mr.
                    Montague. In her conversation with Mr. Montague on 26 October 2014, and in her
                    conversations with Angela Gleason, the Title IX coordinator for Yale College, in the fall of
                    2015, REDACTED        wanted Mr. Montague to understand what he had done was wrong
                    and to understand the University's policy on consent so he would not do it again to
                    anyone else. REDACTED         agreed to participate in the UWC investigation only after she
                    heard that Mr. Montague had already received training. When asked by the panel what
                    he thought might have motivated REDACTED           to participate in this complaint, Mr.
                    Montague said he did not understand her motivation, that it confused him, and that he
                    thought they had both enjoyed their sexual activity on 18 October 2014. The panel finds
                    no credible evidence to suggest—had any motivation to be dishonest with her
                    friends, the fact finder, or this panel.

               6. Actions after the alleged sexual assault. After the alleged sexual assault, REDACTED
                  sought support from her friends the next morning, called SHARE for support a couple
                  days later, and confronted Mr. Montague the following week. In that meeting, REDACTED
                  REDACTED told Mr. Montague that she had made it clear she did not want to have sex
                  with him that night, and she did not want to see him anymore. Later in that academic
                  year, REDACTED       resigned from the REDACTED            . She told her friend on the
                  REDACTED            that she did not know if she could be okay REDACTED from Mr.



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                  Montague at basketball games (Exhibit F), and told REDACTED                             on
                  8 January 2015 that she would not be able to REDACTED          because she had "... a
                  really serious issue with someone on the basketball team ..." (Exhibit G). The panel finds
                  REDACTED        actions after 18 October 2014 to be consistent with her allegation of
                  sexual assault.

               7. Mr. Montague's credibility. Mr. Montague did not remember many details of the night
                  of 18 October 2014, including much of what happened immediately after sexual
                  intercourse. The panel found Mr. Montague's vague memory of much of the night
                  contradicted his very specific and clear memory that REDACTED        had not asked him if
                  it was OK to "hook up but not have sex," and that he never said "I'm really sorry. I know
                  you didn't want that" or "I'm too drunk to have sex." Mr. Montague's account of how
                  he gauged consent also shifted from his interviews with the fact finder, where he said
                  REDACTED      provided verbal consent, to his explanation to the panel, where he said
                  REDACTED      provided only non-verbal consenti. Likewise, Mr. Montague told the fact          Comment [SW]: Ah ha, now Iget this. Can
                                                                                                                 you make the point that his testimony is
                  finder that REDACTED      did not tell him that she had objected clearly and he had
                                                                                                                 contradictory earlier in the report?
                  proceeded over her objections when they met on 26 October, but he told the panel that
                  REDACTED      had told him at that meeting that she had told him that she did not want         DMP -I now hit on this up in pt C which
                                                                                                                 should provide a better setup for this point.
                  to have sex on the night of 18 October. The panel finds Mr. Montague's account less
                  credible because his memory of specific details was not consistent.

        'The panel has considerable concerns about Mr. Montague's understanding of the University's
        consent policy. Mr. Montague stressed that he had sought verbal consent from REDACTED
        during previous intimate encounters, which was confirmed by REDACTED                account of their
        relationship; however, on the night of 18 October 2015, Mr. Montague told the panel he
        gauged consent through non-verbal cues. He told the panel a couple times that that he did not
        use force and that REDACTED        did not say "no" during intercourse. The panel notes that the
        absence of force and the absence of "no" are not sufficient to gauge consent under the
        University policy, which requires positive, unambiguous, and voluntary agreement to engage in
        specific sexual activity. Mr. Montague also asked REDACTED           , through the panel, "I know that
        taking off all clothes doesn't entail sex, but if you really did not want to have sex that night, why
        did you feel comfortable taking off all of your clothes in my bed?" REDACTED          responded
        with great shock and dismay. She said she trusted Mr. Montague and that she had been very
        clear with him earlier that she wanted to "hook up but not have sex." The panel finds that Mr.
        Montague did not demonstrate a solid understanding of Yale's policy on sexual consent.                   Comment [S $9]: Let's discuss this
                                                                                                                 paragraph.

        Conclusion:

        The panel concludes by a preponderance of evidence that Mr. Montague sexually assaulted REDACTED
        REDACTED in violation of Yale's sexual misconduct policy.


        Recommendations:




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        In making its recommendation, the panel took into account not only the findings in this case,
        but information relating to two previous disciplinary findings against Mr. Montague. In
        particular, the panel found relevant a previous UWC finding that Mr. Montague violated Yale's
        sexual misconduct policy, in the form of sexual harassment, in the fall of 2013.

        At the time of the incident with REDACTED       in the fall of 2014, Mr. Montague was on
        probation, had received sexual harassment and gender sensitivity training, and education and
        counseling on the appropriate use of alcohol. Furthermore, starting in the Spring Term of 2014,          Comment [DMP10]: Need to check this
        Mr. Montague was meeting with a member of the SHARE Center staff each semester to review
        and reflect on his interactions and relationships with female students at Yale. Mr. Montague
        had four meetings with SHARE Center staff between the previous violation of UWC policy and              iComment [DMP11]: Check this
        his sexual assault of REDACTED       Students on probation are warned that "the commission of a
        serious offense while on probation will normally result in suspension or expulsion."

        Mr. Montague was also given a reprimand on ??? for defiance of authority in violation of the       ____---iComment [DMP12]: Need to check this
        Yale College undergraduate regulations.

        The panel is deeply concerned by the pattern of behavior by Mr. Montague, and his failure to
        take responsibility for and learn from actions that have caused considerable harm to others.
        Mr. Montague told the panel that he was sorry if REDACTED       felt disrespected or harmed, but
        then spoke at length about the harm this UWC complaint had on his academic and athletic
        performance. He also told the panel that he was an ideal student, a role model at Yale, and had
        never experienced anything like this before. These statements are in contrast to Mr.
        Montague's two previous violations of Yale regulations.

        The panel recommends that Mr. Montague be expelled from Yale University.



        Respectfully,2

        Sarah Demers
        Eileen Donahue
        Kimberly Harris
        John Mayes
        David Post (Panel Chair)




        2 The panel notes that on page 17 of the fact-finder's report, in the section addressing the
        testimony of Angela Gleason, the sentence starting "On October 19, 2014 ..." should read "On
        October 19, 2015 ..."



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